Case 1:16-cr-00146-CG-B     Doc# 87    Filed 01/20/17   Page 1 of 1    PageID# 429




               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
v.                                        )    CR. NO. 16-00146-CG
                                          )
BRIAN DESHON MILLER, and                  )
SCHUYLER JARROD MILLER,                   )
                                          )
      Defendants.                         )

                                      ORDER

      Due to a conflict with the Court’s calendar, the sentencing hearings in the

above styled case are hereby RESCHEDULED for Friday, March 3, 2017 at 1:00

p.m., to be held in Courtroom 2B, United States Courthouse, Mobile, Alabama. The

United States Marshal is ORDERED to produce the Defendants for said hearings.

      DONE and ORDERED this 20th day of January, 2017.

                                   /s/ Callie V. S. Granade
                                   SENIOR UNITED STATES DISTRICT JUDGE
